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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


BENJAMIN NORTH,

                        Plaintiff,

        v.                                                  Case No. 1:17-cv-01373-TNM

THE CATHOLIC UNIVERSITY OF AMERICA

                        Defendant


                                     JOINT STATUS REPORT

        Plaintiff Benjamin North and Defendant The Catholic University of America, by counsel,

submit this joint status report:

        On August 29, 2019, the parties alerted the Court that they had reached a settlement in

principle. In an August 29, 2019 minute order, the Court directed the parties to file a joint status

report on September 27, 2019 if a stipulation of dismissal had not yet been filed.

        The parties are continuing to work to complete and execute a settlement agreement. The

parties respectfully request leave to file an updated status report no later than October 28, 2019.

Dated: September 27, 2019

/s/ Jesse Winograd                               /s/ Aaron J. Kornblith
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                                                 Counsel for Defendant
                                                 The Catholic University of America
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                               CERTIFICATE OF SERVICE

     I hereby certify that on the 27th day of September, 2019, a copy of the foregoing JOINT
STATUS REPORT was served via the Court’s online filing system on:

       Jesse Winograd
       JWinograd@gowenrhoades.com
       Gowen Silva & Winograd PLLC
       513 Capitol Court N.E., Suite 100
       Washington, DC 20002
       Counsel for Plaintiff Benjamin North


                                                  /s/ Aaron J. Kornblith
                                                  Aaron J. Kornblith
